     Case 1:18-cr-00561-DLI Document 58 Filed 09/18/19 Page 1 of 6 PageID #: 145

                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York
MEG:JPM                                           271 Cadman Plaza East
F. #2017R01869                                    Brooklyn, New York 11201



                                                  September 18, 2019

By ECF and Hand Delivery

The Honorable Dora L. Irizarry
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:   United States v. Kyron Graham
                     Criminal Docket No. 18-561 (S-1) (DLI)

Dear Chief Judge Irizarry:

              The government respectfully submits this letter in connection with the
defendant Kyron Graham’s sentencing proceeding, which is scheduled to occur on
October 2, 2019. For the reasons set forth below, the government respectfully requests that
the Court impose a sentence between 24 and 30 months’ imprisonment—the United States
Sentencing Guidelines (“Guidelines” or “U.S.S.G.”) range applicable to the defendant’s
offense of conviction.

I.       Factual Background

                The defendant pleaded guilty to conspiracy to distribute and possess with
intent to distribute heroin, in violation of 21 U.S.C. §§ 846, 841(a) and 841(b)(1)(C). See
Presentence Investigation Report issued June 19, 2019, at ¶ 1 (“PSR”). This plea, to Count
One of a superseding indictment returned on November 19, 2018 (ECF Dkt. No 37), was
pursuant to an agreement with the government. As part of the plea agreement, the
government agreed to dismiss Count Two of the superseding indictment, which charged
possession with intent to distribute heroin and fentanyl, in violation of 21 U.S.C.
§§ 841(a)(1), (b)(1)(C), at the time of sentencing.

             The defendant’s conviction stems from his participation, between July and
September 2018, in a drug-trafficking conspiracy that sold heroin across Staten Island, New
York. See PSR ¶¶ 7-9. The principal participants in the conspiracy were the co-defendants,
Keith Wyche (“Wyche”) and Oneil Allen (“Allen”), who are awaiting trial on this docket.
  Case 1:18-cr-00561-DLI Document 58 Filed 09/18/19 Page 2 of 6 PageID #: 146




The defendant’s role in the conspiracy, as further described below, was as a source of drug
supply for Wyche and Allen. PSR ¶ 11-12.

               The defendant came to the attention of law enforcement at the end of the
government’s investigation into co-defendants Wyche and Allen. Prior to that time, the
Federal Bureau of Investigation (“FBI”) and the New York City Police Department
(“NYPD”) had linked a series of drug overdoses in Staten Island to a pair of drug dealers
who used the names “Marco” and “James.” Marco was later identified as Wyche, and
“James” was identified as Allen. Significant evidence showed that they worked closely with
one another, including by sharing customers, using the same cellular telephones to contact
customers, sharing vehicles, and working from a common location in New Jersey.
PSR ¶¶ 9-10.

               Wyche and Allen sold to customers principally from their vehicles—driving
around Staten Island to make sales. PSR ¶ 9. Wyche and Allen sold what are referred to as
“bundles” of heroin, individually packaged glassines held together by rubber bands. During
the investigation, law enforcement agents placed GPS tracking devices on three vehicles
used by Wyche and Allen—a white 2011 Jeep Grand Cherokee (the “Jeep Vehicle”); a white
2015 Lexus GS350 (the “Lexus Vehicle”); and a green 2007 Infiniti M35 (the “Infiniti
Vehicle”). PSR ¶¶ 3, 9. During the period of tracking, law enforcement officers conducted
controlled purchases of narcotics from both Wyche and Allen and confirmed their use of the
vehicles to make heroin and fentanyl sales.

               The defendant entered the picture during the tracking period, when law
enforcement agents identified that Wyche and Allen repeatedly were driving to a specific
area on Morris Avenue in the Bronx. PSR ¶ 11. That location was determined to be the
defendant’s apartment building. Surveillance video from the foyer of that building showed
that the defendant would meet Wyche or Allen in front of the building. The duration of these
meetings varied on each occurrence between approximately one minute and one hour. As
noted in the complaint originally filed in this case, Wyche and Allen would drive over an
hour each way to and from Staten Island and New Jersey to meet the defendant. Wyche and
Allen also did not leave their vehicles during the meetings with the defendant, generally
double parking in the street in front of his apartment.

              The video surveillance evidence showed that when the defendant met with
Wyche and Allen in front of his building, he appeared to be supplying them packages of
narcotics. The government has surveillance video of the following encounters between the
defendant and Wyche and Allen:

             July 31, 2018: The Lexus Vehicle (Allen) arrived in the street in front of the
              defendant’s apartment at 7:15 p.m. and departed at 8:13 p.m. After Allen
              arrived and parked in the street, the defendant traveled from his apartment to
              the street to meet the vehicle. When the defendant left the apartment building,
              video surveillance showed a large, round bulge visible in the right, rear side of
              the defendant’s pants. When the defendant left the vehicle, surveillance
                                              2
  Case 1:18-cr-00561-DLI Document 58 Filed 09/18/19 Page 3 of 6 PageID #: 147




              footage showed that a bulge in the rear of the defendant’s pants was no longer
              visible, indicating he had left the package in the vehicle.

             August 4, 2018: The Lexus Vehicle (Allen) arrived in front of the defendant’s
              apartment at 4:36 p.m. and left approximately seven minutes later at 4:43 p.m.
              Surveillance video from inside the defendant’s building showed him carrying a
              plastic bag, with a white substance inside, and shaped in a ball. When the
              defendant reached the lobby, he placed the bag in his rear pocket, in a similar
              location to where the bulge was seen in the July 31, 2018 video. The
              defendant was inside Allen’s Lexus Vehicle for only four minutes.

             August 8, 2018: Wyche’s Jeep Vehicle arrived in front of the defendant’s
              apartment at 2:00 p.m. The defendant went from the street to the inside of his
              building and up to his apartment. The Jeep Vehicle waited for 15 minutes in
              front of the building. The defendant and a companion then left the apartment
              building, met the Jeep Vehicle for approximately one minute, and the Jeep
              then departed to drive back to New Jersey.

             August 11, 2018: Wyche’s Jeep Vehicle arrived at the defendant’s apartment
              at 9:37 a.m. The defendant went from his apartment to the street to meet the
              Jeep Vehicle. He got inside through the rear passenger door. The defendant
              was in the Jeep Vehicle for five minutes before it departed.

               These brief meetings, occurring every three or four days, were consistent in
their pattern and duration with the defendant supplying Wyche and Allen narcotics to sell
between the meetings.

II.    Procedural History

                The defendant was arrested on September 18, 2018 and charged (along with
Wyche and Allen) by criminal complaint with conspiracy to distribute and possess with
intent to distribute heroin and fentanyl. On November 19, 2018, the defendant was charged
in the superseding indictment. The defendant was detained between September 18, 2018
and January 28, 2019, when he was released on a $200,000 bond.

              On March 22, 2019, the defendant entered a guilty plea to Count One of the
superseding indictment. As part of his plea agreement, the government agreed with the
defendant that the amount of heroin he was responsible for distributing was between 60 and
80 grams. The government made this estimate based on the video surveillance evidence
showing the above-described meetings between the defendant and Wyche and Allen, and the




                                              3
  Case 1:18-cr-00561-DLI Document 58 Filed 09/18/19 Page 4 of 6 PageID #: 148




government’s estimate that each meeting resulted in the defendant providing 20 grams of
heroin to Wyche and Allen. PSR ¶ 11. The defendant has stipulated to this calculation.

              The U.S. Probation Office (“Probation”) issued the PSR on June 19, 2019.

III.   The PSR and Guidelines Calculation

               The PSR sets forth a Guidelines calculation that the government respectfully
requests be adopted by the Court. The base offense level, determined from the weight of the
heroin, is 20. See U.S.S.G. §§ 2D1.1(a)(5) & (c)(10). The defendant participated in the
conspiracy between July 2018 and September 2018, which was a fraction of the time period
during which Wyche and Allen were distributing in Staten Island. There is no evidence
available to the government that the defendant knew about the extent of Wyche and Allen’s
sales, the overdoses linked to them, or the totality of their dealing activities. Thus, a minor
role adjustment is appropriate. See U.S.S.G. § 3B1.2(b). The defendant’s total offense level
should, thus, be 18.

             With acceptance of responsibility, including the government’s motion for early
acceptance pursuant to U.S.S.G. § 3E1.1(b), the total offense level is 15.

               The defendant has a prior felony conviction for criminal possession of a
weapon in July 2011. PSR ¶ 32. According to the PSR, this offense was committed during a
series of violent acts that occurred on October 29, 2009. First, the defendant apparently shot
a firearm into an occupied vehicle, grazing an occupant. Thereafter, he and another person
took part in a violent burglary incident where the defendant held residents of an apartment at
gunpoint. PSR ¶ 32. This results in three Criminal History points. In 2016, the defendant
was convicted of petit larceny related to stealing a cellphone. PSR ¶ 33. This results in one
Criminal History point. Finally, the defendant committed the instant offense while on parole,
leading to two additional Criminal History points. PSR ¶¶ 32, 35. With six Criminal History
points, the defendant is in Criminal History Category III.

              The government submits that the Court should adopt the foregoing Guidelines
calculation, which results in an advisory range of 24 to 30 months’ imprisonment.

IV.    Applicable Law

               In United States v. Booker, the Supreme Court held that the Guidelines are
advisory and not mandatory, and the Court made clear that district courts are still required to
consider Guidelines ranges in determining sentences but also may tailor the sentence in light
of other statutory concerns. See 543 U.S. 220 (2005); see also 18 U.S.C. § 3553(a).
Subsequent to Booker, the Second Circuit held that “sentencing judges remain under a duty
with respect to the Guidelines . . . to ‘consider’ them, along with the other factors listed in
section 3553(a).” United States v. Crosby, 397 F.3d 103, 111 (2d Cir. 2005). Although the
Court declined to determine what weight a sentencing judge should normally give to the
Guidelines in fashioning a reasonable sentence, the Court cautioned that judges should not

                                               4
  Case 1:18-cr-00561-DLI Document 58 Filed 09/18/19 Page 5 of 6 PageID #: 149




“return to the sentencing regime that existed before 1987 and exercise unfettered discretion
to select any sentence within the applicable statutory maximum and minimum.” Id. at 113.

              Later, in Gall v. United States, the Supreme Court elucidated the proper
procedure and order of consideration for sentencing courts to follow: “[A] district court
should begin all sentencing proceedings by correctly calculating the applicable Guidelines
range. As a matter of administration and to secure nationwide consistency, the Guidelines
should be the starting point and the initial benchmark.” 552 U.S. 38, 49 (2007) (citation
omitted). Next, a sentencing court should “consider all of the § 3553(a) factors to determine
whether they support the sentence requested by a party. In so doing, [the court] may not
presume that the Guidelines range is reasonable. [The court] must make an individualized
assessment based on the facts presented.” Id. at 49-50 (citation and footnote omitted).

V.     The Appropriate Sentence

               A Guidelines sentence is appropriate here because the crime was serious, such
a sentence would be just punishment, it is necessary to promote adequate deterrence, and
because it would properly account for the defendant’s history and characteristics. Foremost,
this offense, as most drug-trafficking crimes are, is serious in nature, which weighs heavily
in favor of a Guidelines sentence. See 18 U.S.C. § 3553(a)(1). The defendant voluntarily
put himself into this conspiracy, enabling his co-defendants to continue their business of
poisoning Staten Island communities. He also did not supply Wyche and Allen drugs on one
occasion or simply do them a quick favor—he met his co-defendants repeatedly, outside of
his own apartment building, to provide narcotics.

               The government respectfully submits that the defendant’s history and
characteristics support a Guidelines sentence. See 18 U.S.C. § 3553(a)(1). This is not the
defendant’s first encounter with the criminal justice system. His prior felony conviction, as
the PSR recounts, was part of a violent pattern of criminal activity by the defendant, where
the defendant fired into a vehicle and struck an occupant. PSR ¶ 32. The records from the
defendant’s state incarceration showed a number of disciplinary violations, including drug
use. And the Court should also consider that the defendant chose to commit new crimes
while on New York State parole, and having already sustained a prior parole violation. See
PSR ¶ 32. Both of the co-defendants have significant felony criminal histories, including
prior drug trafficking convictions. They lived more than hour from the defendant, and yet he
chose to associate with them and involve himself in their business.

               In view of the defendant’s history, including prior parole violations and a prior
significant term of incarceration, the need for the sentence imposed to promote respect for
the law weighs heavily in favor of a Guidelines sentence in this case. See 18 U.S.C.
§ 3553(a)(2)(A). It is equally necessary to afford both adequate general and specific
deterrence for drug-trafficking crimes. See 18 U.S.C. §§ 3553(a)(2)((B), 3553(a)(2)(C).

              The foregoing § 3553(a) factors, taken together, support the imposition of a
Guidelines sentence.

                                               5
  Case 1:18-cr-00561-DLI Document 58 Filed 09/18/19 Page 6 of 6 PageID #: 150




VI.    Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
impose a sentence within the range of 24 to 30 months’ imprisonment.

                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                          By:      /s/ James P. McDonald
                                                  James P. McDonald
                                                  Assistant U.S. Attorney
                                                  (718) 254-6376


cc:    Jennifer Baumann, U.S. Probation Officer (by E-mail)
       William D. Sarratt, Esq. (by ECF)
       Clerk of the Court (DLI) (by ECF)




                                             6
